CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?116945783431665-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       NEWNAN DIVISION
                                                3:21-cr-00004-TCB-RGV
                                                    USA v. Purbeck
                                              Honorable Russell G. Vineyard

                                Minute Sheet for proceedings held In Open Court on 12/14/2021.


              TIME COURT COMMENCED: 10:28 A.M.
              TIME COURT CONCLUDED: 10:58 A.M.                   TAPE NUMBER: FTR
              TIME IN COURT: 00:30                               DEPUTY CLERK: Amanda Zarkowsky
              OFFICE LOCATION: Atlanta

        DEFENDANT(S):               [1]Robert Purbeck Not Present at proceedings
        ATTORNEY(S)                 Andrew Hall representing Robert Purbeck
        PRESENT:                    Michael Herskowitz representing USA
                                    Nathan Kitchens representing USA
        PROCEEDING
                         Pretrial Conference/Teleconference
        CATEGORY:
        PRETRIAL          Rule 404(b)(PTO ¶IV.C.-Defendant) Will be provided consistent with the
        CONFERENCE INFO: Court's standing order.
                          Expert Witness- Goverment will provide expert summaries at least 10
                         days before trial.
        MINUTE TEXT:     Pretrial conference conducted via telephone. The government's responses
                         to the motions to suppress and the motion to dismiss, [Docs. 26 & 27] are
                         due 1/31/2022. The defendant's replies are due 2/15/2022. The parties
                         will confer regarding the content of a proposed consent order regarding
                         the motion to compel, [Doc. 29], and notify the Court if another
                         conference call with the defendant is required. Scheduling of the
                         evidentiary hearing on the defendant's motion to suppress statements,
                         [Doc. 25], is deferred until after briefing on the other motions. The
                         defendant shall have until 1/14/2022 to file additional motions based on
        EXCLUDABLE       supplemental discovery.
        DELAY:           The defendant shall have until 1/14/2022 to file additional motions based
                         on supplemental discovery. This extension is necessary for effective
                         preparation. The delay occasioned by this extension shall be considered a
                         period of excludable delay pursuant to 18 U.S.C.§3161(h)(7)(A) because
                         the court found it needed to allow reasonable time for preparation and also
                         found that the ends of justice served thereby outweigh the interests of the
                         public and the defendant in a speedy trial
                                                                                                                12/14/2021, 12:32 PM
